                Case 2:11-cr-00454-JAM Document 83 Filed 01/25/13 Page 1 of 3


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 5
     Attorney for Defendant
     JOSEPH ANDRADE
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-454-GEB
 9
                                                     )
                                                     )
10           Plaintiff,                              )       STIPULATION REGARDING
                                                     )       EXCLUDABLE TIME PERIODS
11
     v.                                              )       UNDER SPEEDY TRIAL ACT;
                                                     )       [PROPOSED] FINDINGS AND ORDER
12
     JOSEPH ANDRADE,                                 )
                                                     )
13
                                                     )       Date: March 1, 2013
                                                     )       Time: 9:00 a.m.
14
             Defendant.                              )       Judge: Honorable Garland E. Burrell, Jr.
                                                     )
15
                                                     )
16

17
             The United States of America through its undersigned counsel, Jill Thomas, Assistant
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19   United States Attorney, together with counsel for defendant Joseph Andrade, John R. Manning,

20   Esq., hereby stipulate the following:
21
          1. By previous order, this matter was set for status conference on January 25, 2013.
22
          2. By this stipulation, the defendant now moves to continue the status conference until
23

24
     March 1, 2013 and to exclude time between January 25, 2013 and March 1, 2013 under the Local

25   CodeT-4 (to allow defense counsel time to prepare).
26
          3. The parties agree and stipulate, and request the Court find the following:
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                                                         1
       Case 2:11-cr-00454-JAM Document 83 Filed 01/25/13 Page 2 of 3


     a. Counsel for the defendant needs additional time to review the discovery and conduct
 1

 2      investigation.

 3   b. Currently the discovery in this case includes 2,962 pages, 14 video DVDs, and 1
 4
        audio CD.
 5
     c. Counsel for Mr. Andrade and the Government are actively discussing resolution and
 6

 7
        the specific language of the plea agreement. Additional time is necessary in order to

 8      convey to Mr. Andrade the terms of any proposed plea agreement.
 9   d. Counsel for the defendant believe the failure to grant a continuance in this case would
10
        deny defense counsel reasonable time necessary for effective preparation, taking into
11
        account the exercise of due diligence.
12

13   e. The Government does not object to the continuance.

14   f. Based on the above-stated findings, the ends of justice served by granting the
15
        requested continuance outweigh the best interests of the public and the defendant in a
16
        speedy trial within the original date prescribed by the Speedy Trial Act.
17
     g. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
18

19      Section 3161(h)(7)(A) within which trial must commence, the time period of January

20      25, 2013 to March 1, 2013, inclusive, is deemed excludable pursuant to 18 United
21
        States Code Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local Code
22
        T-4 because it results from a continuance granted by the Court at defendant’s request
23
        on the basis of the Court’s finding that the ends of justice served by taking such
24

25      action outweigh the best interest of the public and the defendant in a speedy trial.

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                                 Case 2:11-cr-00454-JAM Document 83 Filed 01/25/13 Page 3 of 3


                           4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
 1

 2   Speedy Trial Act dictate that additional time periods are excludable from the period within which

 3   a trial must commence.
 4
                           IT IS SO STIPULATED.
 5

 6

 7
     Dated: January 24, 2013                                                         /s/ John R. Manning
                                                                                    JOHN R. MANNING
 8                                                                                  Attorney for Defendant
                                                                                    Joseph Andrade
 9

10
     Dated: January 24, 2013                                                        Benjamin B. Wagner
11                                                                                  United States Attorney
12
                                                                            by:     /s/ Jill Thomas
13                                                                                  JILL THOMAS
                                                                                    Assistant U.S. Attorney
14
                                                                    ORDER
15

16                            IT IS SO FOUND AND ORDERED.

17   Date: 1/24/2013

18
                                                               ___________________________________
19                                                             GARLAND E. BURRELL, JR.
                                                               Senior United States District Judge
20   DEAC_Signature-END:




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     61khh4bb
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